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                                        #:185870
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        8:20-cv-00048-JVS(JDEx)                                    Date: October 25, 2024
 Title       Masimo Corporation et al v. Apple Inc.



 Present: The Honorable:       JAMES V. SELNA, U.S. DISTRICT COURT JUDGE


                    Elsa Vargas                                          Not Present
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                  Not Present                                         Not Present


 Proceedings: [IN CHAMBERS] Order re Proposed Pretrial Conference Order

      The Court has made a preliminary review of the (Proposed) Pretrial
 Conference Order (Docket No. 2177-1) and has the following comments in
 advance of the October 28, 2024, Pretrial Conference.

        Deposition designations will count against each parties’ 450 page allocation
 for direct testimony. The Court’s time is no different whether spent in reading
 written trial testimony or depositions. The process for handling depositions seems
 unduly complicated. The Court invites the parties’ suggestions.

       A pretrial conference is not the proper forum to resolve the many disputes
 which the parties raise in the extensive footnotes. The Court regards this as a
 record preserving exercise and for the most part will not carry the footnotes
 forward in the final order.

        Notwithstanding the Court’s cautionary directions with regard to witness
 statement objections, the Court is unlikely to rule on objections prior to actual
 testimony, but necessarily will to the extent the Court relies on testimony in
 crafting its final conclusions of law and findings of fact. One possible exception is
 testimony which violates the Court’s in limine rulings or other Court rulings. In
 this regard, it would be helpful to highlight such objections in red or some other
 color.


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                                        #:185871
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No.        8:20-cv-00048-JVS(JDEx)                         Date: October 25, 2024
 Title       Masimo Corporation et al v. Apple Inc.


       The Court will initially file the final Pretrial Conference Order under a seal
 and will invite proposed redactions within three days. In the absence of
 suggestions for redaction, the Court will unseal the Order.

         It is so Ordered.




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